                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

                              DOCKET NO. 3:06-CR-00151-FDW-2


 UNITED STATES OF AMERICA                        )
                                                 )
         vs.                                     )
                                                 )
 HERMAN KANKRINI,                                )                   ORDER
                                                 )
                 Defendant.                      )
                                                 )
                                                 )
                                                 )

        THIS MATTER comes now before the Court upon motion of Defendant (Doc. No. 222) to

seal responsive affidavit related to this Court’s Order entered September 20, 2007 (Doc. No. 210).

        IT IS THEREFORE ORDERED that Defendant’s responsive affidavit should be, and hereby

is, sealed until further order of this Court.

        IT IS SO ORDERED.                       Signed: October 23, 2007




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